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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,               )
                Plaintiff,               )
                                         )
       vs.                               )         Cause No. 1:07-cr-0090-WTL-DKL-2
                                         )
 ANGEL S. TURNER,                        )
                      Defendant.         )


               ORDER ADOPTING REPORT AND RECOMMENDATION

       Having reviewed Magistrate Judge Debra McVicker Lynch=s Report and

 Recommendation that Angel S. Turner=s supervised released be revoked, pursuant to

 Title 18 U.S.C. '3401(i), Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title

 18 U.S.C. '3583, the Court now approves and adopts the Report and Recommendation

 as the entry of the Court, and orders a sentence of eight (8) months to be served at the

 Volunteers of America, with no supervised release to follow, the defendant is to self-

 surrender, waiver of subsistence to be recommended to the Federal Bureau of Prison;

 and RF monitoring to be terminated.

       SO ORDERED this 13th day of January 2015.




                                                   _______________________________
                                                   Hon. William T. Lawrence, Judge
                                                   United States District Court
                                                   Southern District of Indiana



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 U. S. Parole and Probation

 U. S. Marshal




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